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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DARCI MIMS,                                      §
                                                 §
       Plaintiff,                                §
                                                 §
V.                                               §   CIVIL ACTION NO. 4:21-cv-00405
                                                 §
ASHFIELD HEALTHCARE, LLC,                        §
                                                 §
       Defendant.                                §
                                                 §

                          PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Darci Mims (“Plaintiff” or “Ms. Mims”) files this Original Complaint against

Ashfield Healthcare, LLC (“Defendant”).

                                          SUMMARY

       1.      Ms. Mims is a female who was employed by Defendant as a pharmaceutical sales

representative. As part of her duties, Ms. Mims would call on doctors in order to complete sales

for the company.

       2.      While performing her duties, Ms. Mims was sexually harassed by a doctor. She

reported this sexual harassment to her manager, Bo Boson, in March 2019. In April 2019, Ms.

Mims’s contract was not renewed by Mr. Boson.

       3.      Ms. Mims consistently met and exceeded corporate goals set out for her and was a

stellar performer based on objective and specifically defined criteria and performance metrics.

       4.      Her non-renewal and resulting termination was not based on objective, non-

retaliatory reasons. Rather, she was terminated as a result of her reporting of sexual harassment.

       5.      Ms. Mims was terminated in violation of Title VII of the Civil Rights Act of 1964.
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                            THE PARTIES AND JURISDICTION

         6.    Plaintiff Darci Mims is a natural person residing within the confines of the Southern

District of Texas, Houston Division. Ms. Mims has standing to file this lawsuit.

         7.    Defendant Ashfield Healthcare, LLC is a Florida limited liability company

headquartered in Pennsylvania and doing business in the Southern District of Texas.

         8.    Defendant may be served with this Complaint through its registered agent, Capitol

Corporate Services, Inc., at its registered address, 206 E. 9th Street, Suite 1300, Austin, TX 78701.

         9.    The Court has personal jurisdiction over Defendant based on specific jurisdiction.

         10.   The Court has subject matter jurisdiction over this case based on federal question

jurisdiction under Title VII of the Civil Rights Act.

                                  FACTUAL BACKGROUND

         11.   Ms. Mims has worked in pharmaceutical sales for over two decades. She signed a

three year seasonal contract with Defendant in 2018, whereby she would work six months on, from

October to March, and six months off. This was her second contract with Defendant. At the

commencement of her contract, Ms. Mims was told that it would be for a guaranteed three-year

term.

         12.   Under the contract, Ms. Mims was tasked with selling a new-to-market drug to

combat the flu. Her start date pursuant to the contract was October 8, 2018.

         13.   One of the doctors Ms. Mims called on under the contract was Dr. John Gilmore at

the Cypress Lakewood Clinic in Houston, Texas. On March 20, 2019, Ms. Mims attended a lunch

and learn with Dr. Gilmore. Dr. Gilmore sat down with his lunch across the table from Ms. Mims

and almost immediately began an argument about the merits of her product versus a competitor’s

product. When Ms. Mims attempted to reply, Dr. Gilmore responded with sexist comments

including, “your company hired you for your looks and not your brains, huh?”; “you think you can

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just come in here with your cute little short skirt that screams grab my ass?”; and “you think you

can just flit your little eyelashes at me and make me write your product?”

        14.     Dr. Gilmore’s language then became darker and more perverse in nature. He leaned

closer to her and whispered sexually charged statements including, “you do these things to me

because you want me to ‘f’ you, don’t you”; “you know you want me!”; and “you’d look good tied

up to my bed.” There were other staffers in the room who witnessed the incident. Both Ms. Mims

and multiple female employees told Dr. Gilmore to stop. When he did not, Ms. Mims gathered up

her things and left the office.

        15.     In tears, she immediately went to her car and called her supervisor, Mr. Boson, to

report the incident. She reported to Mr. Boson the nature of the comments made to her and told

him that she had left without picking up her sign-in sheets from the lunch. She asked him if he

could pick them up the next day because she did not feel comfortable going back into the office

again. Mr. Boson reluctantly agreed and stated that he would speak to Dr. Gilmore to get his side

of the story. Mr. Boson did not state that he was sorry this happened to Ms. Mims or ask her if

she was alright.

        16.     Mr. Boson picked up the sign-in sheets from the office the next day but did not

speak with Dr. Gilmore. Mr. Boson also did not immediately notify Human Resources of the

incident.

        17.     Ms. Mims also told Mr. Boson that the incident triggered PTSD because of the fact

that she was sexually molested and raped as a child. Mr. Boson responded with the comment,

“great, now I’ve got to call H.R.”

        18.     The next day, Mr. Boson met Ms. Mims in the parking lot of a Kroger and gave her

through her car window the sign-in sheets she had left behind. He still did not ask if she was

alright and instead turned around, walked back to his car, and left.

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       19.     A week later, Mr. Boson was on a ride-along with Ms. Mims and told her he didn’t

realize how “sensitive” she was. The two did not speak much after that and this was Ms. Mims’s

last ride-along with Mr. Boson.

       20.     Ms. Mims has never before had to deal with any situation like this in her two-decade

career as a pharmaceutical sales representative and she has never previously had to make a

complaint of this kind.

       21.     In April 2019, Defendant communicated new parameters determining who would

be “re-hired” back and who would not. The parameters were based on performance metrics such

as KPIs (Key Performance Indicators) and FCRs (Field Coaching Ride-Along Reports). Ms.

Mims’s performance metrics were stellar. She was ranked in the top ten percent of sales reps

across the country and objectively met the performance criteria to enable her to be retained on her

contract with Defendant.

       22.     In addition, prior to the new parameters being communicated, Defendant had laid

out objective criteria and specific goals to determine performance success and eligibility for

bonuses under the contract. Ms. Mims consistently met these goals.

       23.     Despite this, Ms. Mims was not retained for the remainder of her three-year

contract. In making the ultimate decision, Mr. Boson was allowed to exhibit discretion in choosing

who to retain and who not to.

       24.     Defendant has articulated that the reason for Ms. Mims’s termination was because

she applied for her position too late and Defendant had already selected a male employee named

Noland McMillian. This rationale is false.

       25.     First, Mr. McMillian worked in a different territory than Ms. Mims and the two

were not competing for the same spot. Ms. Mims worked in the Cypress territory and Mr.



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McMillian worked in the Humble territory. Therefore, Defendant could have hired both. For the

same reason, this was not a case of Ms. Mims’s position being unavailable.

       26.     Second, Ms. Mims did not apply too late. On July 23, 2019, an email was sent out

stating that the job would be posted in a couple weeks. On August 4, 2019, the job was indeed

posted. On August 8, 2019, Ms. Mims applied. Mr. McMillian allegedly applied on July 18, 2019.

However, it is beyond comprehension how Mr. McMillian could have applied before the job was

posted on August 4, 2019 and before correspondence notifying employees of the application

process was sent out on July 23, 2019.

       27.     The decision not to retain Ms. Mims was not based on objective, non-retaliatory

criteria. Instead, it was illegally motivated by her complaint about sex discrimination. Simply

put, had Ms. Mims not engaged in legally protected activity by complaining of sex discrimination,

she would not have been terminated when she was. Accordingly, Ms. Mims’s termination

occurred in violation of Title VII of the Civil Rights Act of 1964. Ms. Mims brings this suit to

obtain redress for that violation.

                            TITLE VII CLAIM OF RETALIATION

A.     Legal Standards

       28.     Plaintiff incorporates the preceding paragraphs of this Complaint as if set forth

verbatim.

       29.     The Fifth Circuit has adopted the McDonnell Douglas evidentiary framework to

retaliation claims. See McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973); Fabela v.

Socorro Independent School Dist., (5th Cir. 2003). Under that evidentiary framework, a plaintiff

must first establish a prima facie case of retaliation. See Baker v. American Airlines, Inc., 430

F.3d 750, 754 (5th Cir. 2005); Haynes v. Pennzoil Co., 207 F.3d 296, 299 (5th Cir. 2000).



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         30.   To establish a prima facie case of unlawful retaliation under Title VII, the plaintiff

must show that: (1) she engaged in protected activity; (2) the employer took an adverse action

against her; and (3) a causal link exists between the protected activity and the adverse employment

action. See Gee v. Principi, 289 F.3d 342, 345 (5th Cir. 2002).

         31.   If the plaintiff makes out a prima facie case of retaliation, then the defendant must

articulate a legitimate non-retaliatory reason for the adverse employment decision. See Baker,

430 F.3d at 754-55. If the employer does so, the burden shifts back to the employee to establish

that the employer’s “stated reason is actually a pretext for retaliation.” Baker, 430 F.3d at 755

(internal citations omitted).

         32.   “Title VII prohibits an employer from retaliating against an employee because that

employee has complained about acts of discrimination at work.” Manning v. Chevron Chem. Co.,

LLC, 332 F.3d 874 (5th Cir. 2003).

         33.   A plaintiff is not required to establish that an actual violation of Title VII occurred

in order to invoke the protections of the anti-retaliation provisions. Rather, a plaintiff only needs

to show a reasonable belief that she was being discriminated against and that a complaint was

made. See Green v. Administrators of Tulane Educational Fund, 284 F.3d 642, 657 (5th Cir.

2002).

         34.   “Close timing between an employee’s protected activity and an adverse action

against her may provide the causal connection required to make out a prima facie case of

retaliation.” Evans v. City of Houston, 246 F.3d 344, 354 (5th Cir. 2001). A “time lapse of up to

four months has been found sufficient to satisfy the causal connection for summary judgment

purposes.” Evans, 246 F.3d at 354 (reversing summary judgment on this basis); Cantu v. Vitol,

Inc., Civil Action No. H-09-0576, 2011 WL 486289, at *10 (S.D. Tex. Feb. 7, 2011) (Rosenthal,



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J.) (noting that “the Fifth Circuit has found temporal proximity of up to four months sufficient to

show a causal link.”).

       35.     In order to show causation as to the ultimate issue of retaliation, i.e., that the

protected activity caused the adverse employment action, the employee must establish “that absent

his protected activity, the adverse employment action would not have occurred when it did.”

Donaldson v. Texas Dept. of Aging and Disability Services, 495 S.W.3d 421, 441 (App. 1st Dist.—

Houston, 2016). “The employee ‘need not establish that the protected activity was the sole cause

of the employment action.’” Donaldson at 441 (internal quotation omitted); Evans at 354.

       36.     But-for causation “is established whenever a particular outcome would not have

happened ‘but for’ the purported cause.” Bostock v. Clayton Cty., Georgia, 140 S. Ct. 1731, 1739

(2020) (internal citation omitted). “In other words, a but-for test directs us to change one thing at

a time and see if the outcome changes. If it does, we have found a but-for cause.” Id.

       37.     “Often, events have multiple but-for causes.” For example, “if a car accident

occurred both because the defendant ran a red light and because the plaintiff failed to signal his

turn at the intersection,” both can be but-for causes. Id. In employment discrimination cases, “the

adoption of the traditional but-for causation standard means a defendant cannot avoid liability just

by citing some other factor that contributed to its challenged employment decision.” Id. “So long

as the protected characteristic or protected activity was one but-for cause of that decision, that is

enough to trigger the law.” Id. (pointing out that the legislature could have added “solely” or

“primarily because of” as it has in other statutes, but it chose not to do so here). Accordingly, the

protected activity “need not be the sole or primary cause of the employer’s adverse action” as the

employer in many cases “easily could have pointed to some other, nonprotected trait and insisted

it was the more important factor in the adverse employment outcome.” Id. at 1744.



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       38.     The “existence of a causal link between protected activity and an adverse

employment action is a ‘highly fact specific’ and difficult question. Smith v. Xerox Corp., 371 F.

Appx. 514, 520 (5th Cir. 2010). Indicia of causation may be seen in factors such as: “(1) the

employee’s past disciplinary record, (2) whether the employer followed its typical policy and

procedures in terminating the employee, and (3) the temporal proximity between the employee’s

conduct and termination.” Smith, 371 F. Appx. at 520.

       39.     All conditions precedent to this suit have been fulfilled.

B.     Ms. Mims Suffered An Adverse Employment Action

       40.     Plaintiff incorporates the preceding paragraphs of this Complaint as if set forth

verbatim.

       41.     The United States Supreme Court has held that an employee’s burden to establish

a “materially adverse employment action” is merely to show that she suffered some action that

would dissuade a reasonable worker from exercising protected rights. Burlington Northern &

Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006).

       42.     An adverse action may include denial of promotion, refusal to hire, denial of job

benefits, demotion, suspension, discharge, threats, reprimands, negative evaluations, harassment,

or other adverse treatment. EEOC Compliance Manual, No. 915.003 (May 20, 1998), § 8-II(D)(1),

p. 11. An adverse action does not need to be an ultimate employment action or materially affect

the terms or conditions of employment to constitute retaliation. Id. at § 8-II(D)(3), p. 13. As the

EEOC puts it, “the statutory retaliation clauses prohibit any adverse treatment that is based on a

retaliatory motive and is reasonably likely to deter the charging party or others from engaging in

protected activity.” Id. Significant retaliatory harm can be challenged regardless of the level of

harm. Id. The degree of harm suffered by the individual goes to the issue of damages, not liability.

Hashimoto v. Dalton, 118 F.3d 671, 676 (9th Cir. 1997). See also EEOC v. L. B. Foster, 123 F.3d

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746, 754 n.4 (3rd Cir. 1997), cert. denied; Smith v. Secretary of Navy, 659 F.2d 1113, 1120 (D.C.

Cir. 1981) (asserting that retaliation is a wrong in and of itself under Title VII, “regardless of

whether that wrong would warrant an award of [damages]”).

       43.     The 5th Circuit has expressly held that refusals to hire and non-renewals of a

contract constitute an adverse employment action. See Mooney v. Lafayette Cty. Sch. Dist., 538

Fed. Appx. 447, 453 (5th Cir. 2013) (stating “the non-renewal of her contract constituted a

termination of employment, an adverse employment action” and “[a]dverse employment actions

are discharges, demotions, refusals to hire, refusals to promote, and reprimands”) (internal

citations omitted); Garrett v. Judson Indep. School Dist., 299 Fed. Appx. 337, 345 (5th Cir. 2008)

(holding the non-renewal of the plaintiff’s contract meant “she suffered an adverse employment

action”); Malcolm v. Vicksburg Warren Sch. Dist. Bd. of Trustees, No. 3:14-cv-853, 2016 WL

9631308 (S.D. Miss. August 8, 2016) at *5 (“Because there is no dispute that Defendants chose

not to renew Malcolm’s employment contract, the Court finds that Malcolm has satisfied the third

element of the prima facia case.”) (internal citation to record omitted). Likewise and accordingly,

Ms. Mims suffered an adverse employment action in this case when she was not renewed or

rehired.

C.     Ms. Mims Can Establish Retaliation

       44.     Plaintiff incorporates the preceding paragraphs of this Complaint as if set forth

verbatim.

       45.     To establish a prima facie case of unlawful retaliation under Title VII, the plaintiff

must show that: (1) she engaged in protected activity; (2) the employer took an adverse action

against her; and (3) a causal link exists between the protected activity and the adverse employment

action. See Gee v. Principi, 289 F.3d 342, 345 (5th Cir. 2002).



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        46.     Ms. Mims made a legally protected report to Mr. Boson and therefore she was not

rehired or renewed by Defendant a month later. Ms. Mims engaged in protected activity, suffered

an adverse employment action, and suffered the adverse employment action because she reported

discrimination on the basis of sex to Defendant.

        47.     If the employee makes out a prima facie case of retaliation, then the employer must

articulate a legitimate non-retaliatory reason for the adverse employment decision. See Baker, 430

F.3d at 754-55. If the employer does so, the burden shifts back to the employee to establish that

the employer’s “stated reason is actually a pretext for retaliation.” Baker, 430 F.3d at 755 (internal

citations omitted).

        48.     As articulated above, Defendant’s rationale that Ms. Mims applied too late and Mr.

McMillian was already selected for her position is untenable because it belies the facts. Ms. Mims

can establish pretext because Defendant’s articulated rationale for the adverse employment action

against her is false.

D.      Damages

        49.     Plaintiff incorporates the preceding paragraphs of this Complaint as if set forth

verbatim.

        50.     Plaintiffs who prevail in a Title VII discrimination claim are entitled to back pay.

The purpose of back pay is to “make whole the injured party by placing that individual in the

position he or she would have been in but for the discrimination.” Sellers v. Delgado Cmty. Coll.,

839 F.2d 1132, 1136 (5th Cir. 1988).

        51.     Prevailing plaintiffs are also entitled to reinstatement as an equitable remedy. See

Julian v. City of Houston, Tex., 314 F.3d 721, 729 (5th Cir. 1992). If reinstatement is not feasible,

front pay will be awarded in a manner consistent with the remedial purposes of the law. See

Brunnemann v. Terra Int’l Inc., 975 F.2d 175, 180 (5th Cir. 1992). Unlike back pay, front pay

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refers to future lost earnings. Front pay awards can be substantial. See, e.g., Jackson v. Host

Intern., Inc., Nos. 09–51137, 10–50026, 2011 WL 2119644, at *8-9 (5th Cir. Feb. 1, 2011); Mota

v. University of Tex. Houston Health Sci. Ctr., 261 F.3d 512, 527 (5th Cir. 2001); Donlin v. Philips

Lighting North Am. Corp., 581 F.3d 73, 88 (3rd Cir. 2009); Meacham v. Knolls Atomic Power

Lab., 381 F.3d 56, 79 (2d Cir. 2004), vacated on other grounds sub nom, KAPL, Inc. v. Meacham,

544 U.S. 957 (2005); Gotthardt v. National R.R. Passenger Corp., 191 F.3d 1148 (9th Cir.

1999); Pierce v. Atchison, Topeka & Santa Fe Ry. Co., 65 F.3d 562, 574 (7th Cir. 1995); Hukkanen

v. International Union of Operating Eng’rs, Hoisting & Portable Local No. 101, 3 F.3d 281, 286

(8th Cir. 1993).

       52.     Prevailing plaintiffs are also entitled to compensatory and punitive damages under

Title VII, as well as attorney’s fees and costs. See 42 U.S.C. § 1981A(a)(1).

                                         JURY DEMAND

       53.     Plaintiff demands a jury trial.

                                   DAMAGES AND PRAYER

       Plaintiff asks that she be awarded a judgment against Defendant for the following:

               a.      Actual damages in the amount of lost back pay, lost benefits, and other
                       economic losses;

               b.      Reinstatement or front-pay;

               c.      Compensatory damages;

               d.      Punitive damages;

               e.      Prejudgment and post-judgment interest;

               f.      Court costs;

               g.      Attorney’s fees; and

               h.      All other relief to which Plaintiff is justly entitled.



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                                       Respectfully submitted,


                                        /s/ Ahad Khan
                                       Ahad Khan
                                       Texas Bar No. 24092624
                                       S.D. Texas ID No. 2981398
                                       712 Main Street, Suite 900
                                       Houston, TX 77002
                                       (713) 401-3558 – Telephone
                                       ak@ahadkhanlaw.com – Email

                                       ATTORNEY FOR PLAINTIFF
                                       DARCI MIMS




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